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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                         :       Chapter 11
                                                          :
Z Gallerie, LLC, et al.                                   :       Case No. 19-10488 (LSS)
                                                          :       (Jointly Administered)
                                                          :
                                                          :       NOTICE OF APPOINTMENT OF
          Debtors.                                        :       COMMITTEE OF UNSECURED
----------------------------------                        :       CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Bassett Mirror Co., Inc., Attn: Gary Turner, 1290 Philpott Drive, Bassett, VA 24055,
                   Phone: 276-627-2707; Fax: 276-629-3709

2.                 Tuscany 3PL, Attn: Scott Decubellis, 740 S. Powerline Road, Suite F, Deerfield Beach, FL
                   33442, Phone: 954-567-1700, Fax: 954-486-6886

3.                 Dallimore & Co., Attn: Simon Dallimore, 160 Mercer Street, Floor 2, New York, NY
                   10012, Phone: 212-503-0101

4.                 LSC Communications US LLC, Attn: Dan Pevonka, 4101 Winfield Rd., Warrenville, IL
                   60555, Phone: 630-821-3108, Fax: 630-821-3083

5.                 Brookfield Property REIT, Inc., Attn: Julie Minnick-Bowden, 350 N. Orleans St., Suite
                   300, Chicago, IL 60654-1607, Phone: 312-960-2707, Fax: 312-442-6374




                                                  ANDREW R. VARA
                                                  Acting United States Trustee, Region 3


                                                  /s/ Jaclyn Weissgerber for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: March 20, 2019

Attorney assigned to this Case: Jaclyn Weissgerber, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Domenic Pacitti, Esq., Phone: (302) 552-5511, Fax: (302) 426-9193
